Case 0:10-cv-61273-JEM Document 6 Entered on FLSD Docket 08/06/2010 Page 1 of 1




                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA


 AMANDA HAYS

                                         Plaintiff,
                                                                           Case No. 0:10-cv-61273-JEM
 v.

 NCO FINANCIAL SYSTEMS, INC.,

                                         Defendant.
                                                                /

                                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

              Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff, Amanda Hays, and defendant,

 NCO Financial Systems, Inc., (“NCO”), hereby jointly stipulate to the dismissal with

 prejudice of plaintiff’s claims against NCO with each side to bear its own fees and costs.

              Dated, this 6th day of August, 2010.


 /s/Andrew I. Glenn                                                 /s/Kenneth C. Grace
 Andrew I. Glenn, Esq.                                              Kenneth C. Grace, Esq.
 Card & Glenn, P.A.                                                 Sessions, Fishman, Nathan & Israel, LLC
 2501 Hollywood Blvd., Ste. 100                                     3350 Buschwood Park Drive, Ste. 195
 Hollywood, Florida 33020                                           Tampa, Florida 33618
 Telephone: (954) 921-9994                                          Telephone: (813) 890-2463

 Counsel for Plaintiff,                                              Counsel for Defendant,
 Amanda Hays                                                         NCO Financial Systems, Inc.

 \\sfnfs02\prolawdocs\6947\6947-26266\Hays, Amanda\166903.doc
